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Dear Judge Hollander,

        I have known Jim for 10 years. In those years Jim has always been someone I could
count on to tell me the right thing to do. When I met Jim he was a police officer, and an amazing
one at that. Not because he was out looking for every little wrong he could write a citation for,
but because he truly cared for the community. He talked to the locals as people, not as though he
had authority over them and they should be scared of him, he watched out for them. When I lived
in Brunswick I was 18 years old and would have to walk a mile to work at 4am alone, I
remember many mornings seeing Jim drive by, just making sure I was ok, I felt safe knowing at
least someone was looking out for me.

        After I left Brunswick I kept in touch with Jim. I would always call for advice when I
was at a crossroads and needed direction on how to do the right thing the right way. Jim was
always kind and bluntly honest. He never judged but instead made me look at things differently
than I had been taught to.

        He knew I wanted to be a private investigator, so in March of 2018 he reached out to me
and offered me a job at FJB Engineering where he was working. He knew it would give me
opportunities to meet people that could help me achieve my goal. He got me set up with lessons
with a nearby gun range, where I became RSO certified. At the time I was dating a person with a
past felony, and Jim, as kind as he could put it, made sure to let me know that my living with a
felon could seriously interfere with some of my plans, and that there were many gun laws I
needed to take into account. Jim was big on things needed to be done the right way.

        During our time working together at FJB I watched Jim work tirelessly on algorithms and
machines, trying to fix problems to help out law enforcement and the military. To make things
safer for them to do their job. He just wanted to make a difference.

         Through the years, there were many times I witnessed Jim being taken advantage of, or
just treated cruelly due to his passive quiet nature. I saw employers treat him unfairly, and a
spouse try to rip his life to shreds and use his children as pawns. Through all those times I never
saw Jim angry or mean, not once. Instead he just wondered why. Why did so many people not
care about others, why did people want to hurt others. I could see the hurt and confusion on his
face, but still he always did what was right. Until the day he ran. I hold a lot of guilt for what
happened with Jim's original charge, I had told him he was still on the FFL a hundred times
because as far as I was told he was.

         So I'm writing this letter because though he may have broken the law and fled, that action
is so far from who Jim is as a person, that it's so hard to comprehend him ever doing that. Before
Jim left I had spoken with him a few times and he was noticeably depressed and down right
paranoid. He was scared for his life and confused and didn't understand how things had gotten to
where they did, as we all were. Jim is a benevolent quirky man, and the idea of him that sitting in
a prison is heartbreaking. I can hear the hurt in his voice when we talk, and his tears bring me to
tears. Still after all this he is not mad, or looking for revenge. As for the rest of us, we are just
hopeful to have him home as soon as possible. I sincerely hope the court takes this into
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consideration during sentencing. Despite his mistake, I still consider Jim to be one of the most
honorable, reliable and kindest people I know.



                                                    Brooklyn Salisbury
